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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION


In re:                                                §
                                                      §
                                                      §
SOUTHERN FOODS GROUP, LLC et al                       §        Case No. 19-36313
                                                      §        Chapter 11
Debtor(s). 1                                          §
                                                      §


         NOTICE OF APPEARANCE AND REQUEST FOR NOTICES AND SERVICE

          PLEASE TAKE NOTICE that Elizabeth A. Gilman and the firm of K&L Gates LLP are

making their appearance on behalf of Land O’Lakes, Inc. (“Land O’Lakes”) a creditor and party

in interest in this proceeding, and, in accordance with Rules 2002, 3017(a) and 9010(b) of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Sections 342 and 1109(b)

of title 11 of the United States Code, 11 U.S.C. §§ 101-1532, (the “Bankruptcy Code”), request




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  The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their respective
Employer Identification Numbers, are as follows: Southern Foods Group, LLC (1364); Dean Foods Company (9681);
Alta-Dena Certified Dairy, LLC (1347); Berkeley Farms, LLC (8965); Cascade Equity Realty, LLC (3940); Country
Fresh, LLC (6303); Dairy Information Systems Holdings, LLC (9144); Dairy Information Systems, LLC (0009); Dean
Dairy Holdings, LLC (9188); Dean East II, LLC (9192); Dean East, LLC (8751); Dean Foods North Central, LLC
(7858); Dean Foods of Wisconsin, LLC (2504); Dean Holding Company (8390); Dean Intellectual Property Services
II, Inc. (3512); Dean International Holding Company (9785); Dean Management, LLC (7782); Dean Puerto Rico
Holdings, LLC (6832); Dean Services, LLC (2168); Dean Transportation, Inc. (8896); Dean West II, LLC (9190);
Dean West, LLC (8753); DFC Aviation Services, LLC (1600); DFC Energy Partners, LLC (3889); DFC Ventures,
LLC (4213); DGI Ventures, Inc. (6766); DIPS Limited Partner II (7167); Franklin Holdings, Inc. (8114); Fresh Dairy
Delivery, LLC (2314); Friendly’s Ice Cream Holdings Corp. (7609); Friendly’s Manufacturing and Retail, LLC
(9828); Garelick Farms, LLC (3221); Mayfield Dairy Farms, LLC (3008); Midwest Ice Cream Company, LLC (0130);
Model Dairy, LLC (7981); Reiter Dairy, LLC (3675); Sampson Ventures, LLC (7714); Shenandoah’s Pride, LLC
(2858); Steve’s Ice Cream, LLC (6807); Suiza Dairy Group, LLC (2039); Tuscan/Lehigh Dairies, Inc. (6774); Uncle
Matt’s Organic, Inc. (0079); and Verifine Dairy Products of Sheboygan, LLC (7200). The debtors’ mailing address is
2711 North Haskell Avenue, Suite 3400, Dallas, Texas 75204.




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that copies of all notices, pleadings, orders, and other papers in this case be served on the following

person at the following address:

          Elizabeth A. Gilman                          Brandy A. Sargent
          K&L Gates LLP                                K&L Gates LLP
          1000 Main Street, Suite 2550                 1 SW Columbia St., Suite 1900
          Houston, Texas 77002                         Portland, OR 97258
          Phone: (713) 815-7300                        Phone: (503) 226.5735
          Facsimile: (713) 815-7301                    Facsimile: (503)248.9085
          Email: beth.gilman@klgates.com               Email: brandy.sargent@klgates.com

          With copies to:                              James A. Wright III
                                                       K&L Gates LLP
                                                       One Lincoln Street
                                                       Boston, MA 02111
                                                       Phone: (617) 261-3193
                                                       Facsimile: (617) 261-3175
                                                       Email: james.wright@klgates.com

       PLEASE TAKE FURTHER NOTICE that this request includes not only the notices and

papers referred to in the rules of the Bankruptcy Rules and sections of the Bankruptcy Code

specified above, but also includes, without limitation, any and all orders and notices of any

application, motion, petition, pleading, request, complaint, or demand, whether formal or informal,

whether written or oral, and whether transmitted or conveyed by mail, electronic mail, courier

service, hand-delivery, telephone, facsimile transmission, or otherwise pertaining in any manner

to the above-referenced cases or the proceedings therein.

       PLEASE TAKE FURTHER NOTICE that this Notice of Appearance and Request for

Notices and Service shall not be deemed or construed to be a waiver of the rights of the undersigned

party appearing through counsel: (1) to have final orders in non-core matters and Stern claims

entered only after de novo review by a United States District Court Judge; (2) to trial by jury in

any proceeding so triable in these cases, controversies, or proceeding related to these cases; (3) to



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have the United States District Court withdraw the reference in any matter subject to mandatory

or discretionary withdrawal; (4) to have its claims or other rights adjudicated pursuant to any rights

of arbitration; or (5) to any other rights, claims, actions, setoffs, or recoupments to which it is or

may be entitled under agreements, in law, or in equity, all of which rights, claims, actions defenses,

setoffs, and recoupments are hereby expressly reserved. All of the above rights are expressly

reserved and preserved unto Land O’Lakes without exception, and with no purpose of confessing

or conceding jurisdiction in any way by this filing or by any other participation in these matters.


Dated: November 18, 2019.                      Respectfully submitted,

                                               K&L Gates LLP


                                               By: /s/ Elizabeth A. Gilman
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                                                  Federal ID No. 1120022
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                                                  Boston, Massachusetts 02111
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                                               ATTORNEYS FOR LAND O’LAKES, INC.


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                              CERTIFICATE OF SERVICE

         I hereby certify that on November 18, 2019, a copy of the foregoing was sent via ECF to
all parties registered to receive electronic notice in the case.


                                           /s/ Elizabeth A. Gilman____________
                                           Elizabeth A. Gilman




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